8:05-cr-00306-JFB-SMB           Doc # 112         Filed: 11/10/10   Page 1 of 1 - Page ID # 351




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )                8:05CR306
               vs.                            )
                                              )                 ORDER
JAMES L. FARLEY,                              )
                                              )
                       Defendant.             )
     Defendant James L. Farley (Farley) appeared before the court for a detention hearing on
November 10, 2010, on the Petition for Warrant or Summons for Offender Under Supervision
(Petition) (Filing No. 94). Farley was represented by Barbara J. Thielen and the United States was
represented by Assistant U.S. Attorney Nancy A. Svoboda. Previously, Farley had waived a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1) and he was
scheduled for a dispositional hearing before Chief Judge Joseph F. Bataillon on December 3, 2010,
at 11:00 a.m. Farley requested to be placed on electronic monitoring at his mother’s residence.
Farley presented letters from the Food Bank where he was employed and from the Crossroads
Connection Prison Ministries regarding Farley’s participation in their program. Farley was allegedly
shot while stealing a vehicle from a residential driveway. He has an extensive criminal history and
prior violations of his supervised release. Since it is Farley’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that he is neither a flight risk nor a danger to the
community, I find he has failed to do so. Farley will be detained pending a dispositional hearing
before Chief Judge Bataillon.


       IT IS ORDERED:
       1.     Defendant James L. Farley is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
      2..    Defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
      3.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.


       DATED this 10th day of November, 2010.
                                                       BY THE COURT:


                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
